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        UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
        ---------------------------------------------------------------------x
                                                                                           ORDER OF REFERENCE
                                                                                           TO A MAGISTRATE JUDGE
        Plaintiff,     Xixiang Yang et al.
                                                                                                                (JSR) ( SN )
                -v-




               The above entitled action is referred to the designated Magistrate Judge for the following
        purpose , ·

                                                                                     Consent under 28 U.S.C. §636(c) for all
                General Pretrial (includes scheduling,
                discovery, non-dispositive pretrial
                motions, and settlement)
                                                                                 D   purposes (including trial)

                                                                                     Consent under 28 U.S.C.§636(c) for limited
                 Specific Non-Dispositive                                            purpose (e.g., dispositive motion,
                 Motion/Dispute:*                                                D   preliminary injunction)
                                                                                     Purpose: _ _ _ _ _ _ _ __

                                                                                 D   Habeas Corpus


                 If referral is for discovery disputes when                      D   Social Security

                 the District Judge is unavailable, the time                         Dispositive Motion (i.e., motion requiring
                 period of the referral: _ _ _ _ _ _ __                              a Report and Recommendation)

                 Settlement*
                                                                                 D   Particular Motion: _ _ _ _ _ _ __



                 Inquest After Default/Damages Hearing                               All such motions: - - - - -


        Magistrate to oversee depositions of plaintiffs in courthouse.




Do not check if already rcf'erred for general pretrial.

lated    07/31/2017
                                                                                 SO ORDERED:

                                                                                     /£~~
                                                                                 United States District Judge
